Case 2:17-cv-01298-JCC Document 2-7 Filed 08/28/17 Page 1 of 2




    Exhibit 7
Washington Courts Search Case Records Document 2-7 Filed 08/28/17 Page 2 of 2 Page 1 of 3
            Case-2:17-cv-01298-JCC




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Courts Home      search Case Records                                         Search I Site Map I         eService Center


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     Superior Court Case Summary                                                    About Dockets
                                                                                   About Dockets
 Court: Icing Co Superior Ct
 Case Number: 17-2-14474-6                                                           You are viewing the case
                                                                                     docket or case summary.
 Sub   Docket Date    Docket Code              Docket Description      Misc Info     Each Court level uses
                                                                                     different terminology for this
 1     06-05-2017     SUMMONS & COMPLAINT      Summons &                             information, but for all court
                                               Complaint                             levels, it is a list of activities
 -     06-05-2017     NON FEE                  Non Fee                               or documents related to the
                                                                                     case. District and municipal
 2     06-05-2017     SET CASE SCHEDULE        Set Case Schedule       06-04-
                                                                                     court dockets tend to include
                      JDG0020                  Judge Susan Amini,      2018ST
                                                                                     many case details, while
                                               Dept 20
                                                                                     superior court dockets limit
 3     06-05-2017     CASE INFORMATION COVER   Case Information                      themselves to official
                      SHEET                    Cover Sheet                           documents and orders
                      LOCS                     Original Location -                   related to the case.
                                               Seattle
 4     06-05-2017     MOTION AND                Motion /dclr For Fee                 If you are viewing a district
                      AFFIDAVIT/DECLARATION     Waiver/pet                           municipal, or appellate court
 5     06-05-2017     ORDER TO PROCEED IN       Order To Proceed In                  docket, you may be able to
                      FORMA PAUPERIS            Forma Pauperis                       see future court appearances
                      EXP0001                   Ex-parte, Dept                       or calendar dates if there are
                                                                                     any. Since superior courts
 6     08-16-2017     NOTICE OF APPEARANCE      Notice Of                            generally calendar their
                                                Appearance /state                    caseloads on local systems,
                                                                                     this search tool cannot
                                                                                     display superior court
                                                                                     calendaring information.

                                                                                   Directions
                                                                                     King Co Superior Ct
                                                                                     516 3rd Ave, Rai C-203
                                                                                     Seattle, WA 98104-2361
                                                                                     Map & Directions
                                                                                     206-477-1400[Phone]
                                                                                     206-296-0986[Fax]
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                                                                                   Disclaimer



                                                                                     What is this website? It is
                                                                                     a search engine of cases filed
                                                                                     in the municipal, district,
                                                                                     superior, and appellate
                                                                                     courts of the state of
                                                                                     Washington. The search
                                                                                     results can point you to the
                                                                                     official or complete court
                                                                                     record.




https:Hdw.courts.wa.gov/index.cfm?fa=home.casesummary&crt_itl_nu=S17&casenumber...                            8/23/2017
